        CASE 0:21-cv-00902-PJS-ECW Doc. 25 Filed 11/15/21 Page 1 of 1




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 Michael Alexander,                              Case No.: 0:21-cv-00902 (PJS/HB)
 Patrizia Davis,
                                                         DEFENADNT’S
       Plaintiffs,                                     MOTION TO DISMISS
 vs.

 Olson Property Investments, LLC,

                     Defendant.


TO: PLAINTIFFS, BY AND THROUGH THEIR ATTORNEYS, LAURA JELINEK AT SOUTHERN
MINNESOTA REGIONAL LEGAL SERVICES, 55 E. 5TH STREET, #400, ST. PAUL, MN 55101

                                       MOTION

       Olson Property Investments, LLC hereby moves the court to dismiss this action

pursuant to Rule 12(c) of the Federal Rules of Civil Procedure.

                                    HANBERY & TURNER P.A.
Dated: November 15, 2021            /s/ Christopher T. Kalla
                                    Douglass E. Turner, #0279948
                                    Christopher T. Kalla, #0325818
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